          Case 3:22-cr-00081-MO          Document 1      Filed 03/03/22      Page 1 of 2




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                              3:22-cr-00081-MO

                                                      INFORMATION
               v.
                                                      18 U.S.C. § 2252A(a)(5)(B) and (b)(2)

DENNIS “DENNY” DOYLE,                                 Forfeiture Allegation

               Defendant.

                      THE UNITED STATES ATTORNEY CHARGES:

                                            COUNT 1
                               (Possession of Child Pornography)
                             (18 U.S.C. § 2252A(a)(5)(B) and (b)(2))

       Between on or about November 2014, and continuing until on or about December 2015,

in the District of Oregon and elsewhere, defendant DENNIS “DENNY” DOYLE, knowingly

and unlawfully possessed material containing child pornography that had been mailed, shipped,

or transported using any means or facility of interstate or foreign commerce, and in or affecting

interstate or foreign commerce by any means, including by computer, or that was produced using

materials that had been mailed, shipped, or transported in or affecting interstate or foreign

commerce by any means, including by computer, said images included a depiction of a

prepubescent minor or a minor who had not attained twelve years of age;

       In violation of Title 18, United States Code, Section 2252A(a)(5)(B) and (b)(2).

Information                                                                                     Page 1
          Case 3:22-cr-00081-MO         Document 1       Filed 03/03/22     Page 2 of 2




                                FORFEITURE ALLEGATION

       Pursuant to Title 18, United States Code, Section 2253, upon conviction of the offense

described above in Count 1 of this Information, defendant DENNIS “DENNY” DOYLE shall

forfeit to the United States any and all matter which contains visual depictions of minors

engaged in sexually explicit conduct that were produced, transported, mailed, shipped, or

received in violation of the offense, and any and all property that was used or intended to be used

in any manner or part to commit or to promote the commission of the aforementioned violation

or any property traceable to such property, to include but not limited to, one purple 64GB Lexar

USB thumb drive.

       Dated: March 3, 2022                          Respectfully submitted,

                                                     SCOTT ERIK ASPHAUG
                                                     United States Attorney

                                                     /s/ Natalie K. Wight________________
                                                     NATALIE K. WIGHT, OSB #035576
                                                     Assistant United States Attorney




Information                                                                                  Page 2
